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     IT IS ORDERED as set forth below:



     Date: April 22, 2022
                                                   _________________________________

                                                              Sage M. Sigler
                                                       U.S. Bankruptcy Court Judge

 ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                      :        CASE NO. 21-59320-SMS
                                            :
LEWIS ALTON CAIN and                        :
BRENDA ANN CAIN,                            :        CHAPTER 7
                                            :
         Debtors.                           :
                                            :
                                            :
S. GREGORY HAYS, as Chapter 7 Trustee,      :
                                            :
         Movant,                            :
                                            :
v.                                          :        CONTESTED MATTER
                                            :
LEWIS ALTON CAIN and                        :
BRENDA ANN CAIN,                            :
                                            :
         Respondents.                       :
                                            :
                                            :

                    ORDER ON OBJECTION TO CLAIMED EXEMPTIONS

         On March 17, 2022, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the
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bankruptcy estates (collectively, the “Bankruptcy Estate”) of Lewis Alton Cain (“Mr. Cain”)

and Brenda Ann Cain (“Mrs. Cain” and with Mr. Cain, the “Debtors”), filed Trustee’s Objection

to Claimed Exemptions [Doc. No. 20] (the “Objection”), seeking, among other things, an order

from the Court disallowing Debtors’ claimed exemptions (the “Exemptions”) in a certain Metlife

insurance policy (the “Insurance Policy). More particularly, Trustee asserts that only Mr. Cain

is entitled to an exemption in the Insurance Policy in the amount of $12,275.50 (a $2,000.00

exemption available under § 44-13-100(a)(9) and a $10,275.50 exemption under §

44-13-100(a)(6)).

         Also on March 17, 2022, Trustee filed a notice of hearing [Doc. No. 20] (the “Notice”),

setting a hearing on the Objection on April 20, 2022 (the “Hearing”). Counsel for Trustee

certifies that he served the Objection and Notice on all necessary parties in interest, including

Debtors. [Doc. No. 20].

         No one filed a response to the Objection.

         Counsel for Trustee appeared at the calendar call for the Hearing. No party in interest

appeared to object to the relief that Trustee requested in the Objection.

         The Court having considered the Objection and the entire record in this matter; and, for

good cause shown, it is hereby

         ORDERED that the Objection is SUSTAINED: Debtors’ claimed Exemptions in the

Insurance Policy are disallowed, and only Mr. Cain is allowed an exemption in the Insurance

Policy in the amount of $12,275.50, calculated as follows: a $2,000.00 exemption under O.C.G.A.

§ 44-13-100(a)(9) and a $10,275.50 exemption under § 44-13-100(a)(6).

                                     [END OF DOCUMENT]



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Order prepared and presented by:

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